   Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 1 of 15 PAGEID #: 1




                                                                        5/13/21



                                                      3:21MJ186




Telephone

   5/13/21
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 2 of 15 PAGEID #: 2
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 3 of 15 PAGEID #: 3
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 4 of 15 PAGEID #: 4
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 5 of 15 PAGEID #: 5
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 6 of 15 PAGEID #: 6
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 7 of 15 PAGEID #: 7
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 8 of 15 PAGEID #: 8
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 9 of 15 PAGEID #: 9
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 10 of 15 PAGEID #: 10
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 11 of 15 PAGEID #: 11
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 12 of 15 PAGEID #: 12
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 13 of 15 PAGEID #: 13




13th
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 14 of 15 PAGEID #: 14
Case: 3:21-mj-00186-SLO Doc #: 1 Filed: 05/13/21 Page: 15 of 15 PAGEID #: 15
